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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                   PIKEVILLE

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )      Criminal No. 10-2(1)-ART
                                             )
 v.                                          )
                                             )    MEMORANDUM OPINION
 JIMMY D. CORNETT,                           )           AND ORDER
                                             )
        Defendant.                           )
                                     *** *** *** ***

       The defendant Jimmy D. Cornett moved for a new trial based on comments made by

a juror after the jury rendered its verdict. R. 94. The United States opposed the motion. R.

96. Cornett’s arguments fail because juror statements about deliberations are inadmissible

under Fed. R. Evid. 606(b).

                                      BACKGROUND

       A federal grand jury indicted Cornett on January 21, 2010. R. 1. He was charged with

conspiring to manufacture and aiding and abetting the manufacture of methamphetamine;

aiding and abetting the possession of equipment, products, and materials used to manufacture

methamphetamine; aiding and abetting the possession of a firearm in furtherance of a drug

trafficking crime; and two counts of possessing a firearm after having been previously

convicted of felony. See id.

       On May 17, 2010, the defendant proceeded to trial. After the close of the United

States’s case, Cornett and two others testified for the defense. The jury returned a guilty

verdict on all six counts. R. 85. After the reading of the verdict and release of the jurors, the
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Court spoke with the jury to thank them for their time and service. During the course of this

discussion, a juror commented that the defense should have presented more evidence. The

Court spoke with counsel on May 19, 2010, by telephone, to inform them of the juror’s

comment. R. 91. The defendant then filed a motion for a new trial. R. 94.

       Cornett argues that he is entitled to a new trial under Fed. R. Crim. P. 33, in order to

protect his Fifth and Sixth Amendment rights under the United States Constitution. R. 94 at

1. Further, he asserts that the statement shows the juror did not follow instructions, the juror

did not apply the presumption of innocence, and the verdict was not unanimous. Id. at 2-3.

                                        DISCUSSION

       “Rule 33 of the Federal Rules of Criminal Procedure permits a district court, upon a

defendant’s motion, to ‘vacate any judgment and grant a new trial if the interest of justice so

requires.’” United States v. Wheaton, 517 F.3d 350, 360-61 (6th Cir. 2008) (quoting United

States v. Pierce, 62 F.3d 818, 823 (6th Cir. 1995). “The decision whether to grant a new trial

is left to the sound discretion of the trial court.” Pierce, 62 F.3d at 823. When granting a new

trial (for newly discovered evidence or juror misconduct, for example), courts require a

finding of prejudice. See United States v. Carson, 560 F.3d 566, 585 (6th Cir. 2009)

(requiring, among other things, that a defendant must show that the new evidence would

likely produce acquittal (quoting United States v. Seago, 930 F.2d 482, 488 (6th Cir. 1991));

Wheaton, 517 F.3d at 362 (stating that the defendant “must do more than raise a ‘serious

suspicion’ in order to demonstrate that he is entitled to a new trial. He bears the burden of

proving that the jury was biased.”).



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       But the Court need not reach the interests of justice analysis in Cornett’s case, because

the Federal Rules of Evidence prohibit it from even considering the juror’s statement. Rule

606(b) explains that:

       Upon an inquiry into the validity of a verdict or indictment, a juror may not
       testify as to any matter or statement occurring during the course of the jury’s
       deliberations or to the effect of anything upon that or any other juror’s mind or
       emotions as influencing the juror to assent to or dissent from the verdict or
       indictment or concerning the juror’s mental processes in connection therewith.
       . . . A juror’s affidavit or evidence of any statement by the juror may not be
       received on a matter about which the juror would be precluded from testifying.

Fed. R. Evid. 606(b). The rule includes three exceptions: A juror may testify about: “(1)

whether extraneous prejudicial information was improperly brought to the jury’s attention,

(2) whether any outside influence was improperly brought to bear upon any juror, or (3)

whether there was a mistake in entering the verdict onto the verdict form.” Id.

       The Supreme Court has addressed Rule 606(b) and applied its plain meaning. An

evidentiary hearing is required only where “extrinsic influence or relationships have tainted

the deliberations.” Tanner v. United States, 483 U.S. 107, 120 (1987) (citations omitted); cf.

Garcia v. Andrews, 488 F.3d 370, 375 (6th Cir. 2007) (juror’s feelings of grave concern about

his safety did not require an evidentiary hearing because it was not based on extrinsic

influence). An “extraneous influence on a juror [is] derived from specific knowledge about

or a relationship with either the parties or their witnesses,” United States v. Herndon, 156

F.3d 629, 636 (1998), such as “prior business dealings with the defendant, applying to work

for the local district attorney, conducting an out of court experiment, [or] discussing the trial

with an employee,” United States v. Owens, 426 F.3d 800, 805 (6th Cir. 2005) (citations


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omitted).

       Recently, the Sixth Circuit considered a situation similar to Cornett’s and reached the

same result. See United States v. Kelley, 461 F.3d 817, 830-32 (6th Cir. 2006). A juror in

Kelley spoke to the media post-trial and stated: “I was also struck by the fact that neither of

the Kelleys testified. If they were innocent, they would have testified.” Id. at 830-31. The

court found the statements within the purview of Rule 606(b). It rejected the defendant’s

argument that a juror’s statement about lack of evidence demonstrated an extraneous

influence at work. Instead, the Sixth Circuit agreed with other circuits that the defendant’s

decision not to testify “is not a fact the jurors learned through outside contact, communication,

or publicity. It did not enter the jury room through an external, prohibited route. It was part

of the trial, and was part of the information each juror collected” and thus, did not fall within

the exceptions to 606(b). Id. at 831-32 (quoting United States v. Rodriquez, 116 F.3d 1225,

1227 (8th Cir. 1997)). The same applies to Cornett. The juror’s reference to the lack of

evidence presented, based upon the evidence that was presented, comes directly from

observations made within the courtroom.         The juror did not mention any extraneous

information or outside influence to the Court. Nor does Cornett allege that any outside

influences were present. For these reasons, the statements made by the juror after Cornett’s

trial are inadmissible under 606(b). Neither the juror nor any other party may testify or

represent the juror’s post-trial statements.

       Finally, Cornett mis-characterizes the juror’s statement in his motion. Cornett states

that the juror said he thought the defense attorney should have presented more evidence


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showing the defendant to be innocent. R. 94 at 2. The juror did not mention innocence or the

burden of proof and only stated that the defense should have presented more evidence.

Cornett also states that the juror repeated the comments after the Court responded; this did

not occur, nor did the Court convey to counsel that the juror did.

       Though the interests of justice analysis is not necessary here, it is worth noting that the

juror’s statement does not necessarily mean the juror did not understand the burden of proof.

Cornett, in fact, did put on some evidence. While the statement alone is troubling, the juror’s

statement may have reflected a feeling that the defense should have further explained the

details of the case that it chose to present. As the Court explained to the juror, it is always a

delicate balance for a defense attorney to decide how much evidence to put forth.

                                       CONCLUSION

       For the foregoing reasons, it is ORDERED that the defendant’s motion for a new trial,

R. 94, is DENIED.

       This the 19th day of July, 2010.




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